Case 3:16-cv-00463-BEN-JMA Document 77 Filed 01/18/18 PageID.1419 Page 1 of 2



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  11
                                  UNITED STATES DISTRICT COURT

  12
                                 SOUTHERN DISTRICT OF CALIFORNIA

  13                                             )   Case No.: 3:16-cv-00463-BEN-JMA
       ViaSat, Inc.,                             )
  14   a Delaware corporation,
                                                 )
                                                      ORDER GRANTING JOINT
  15                                             )    MOTION FOR
                                     Plaintiff   )    EXTENSION OF DEADLINE TO
  16                   and Counter Defendant,    )    SUBMIT JOINT MOTION FOR
                                                      DETERMINATION OF
  17                                             )    DISCOVERY DISPUTE
             v.                                  )
  18
                                                      [DOC. NO. 76]
                                                 )
  19   Acacia Communications, Inc.,              )   Dist. Judge: Hon. Roger T. Benitez
       a Delaware corporation,                   )   Hon. Magistrate Jan M. Adler
  20                                             )
                                   Defendant     )
  21                     and Counter Claimant,   )   Case Initiated: January 21, 2016
  22                                             )
  23                                             )

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                                                     ViaSat v. Acacia, 3:16-00463-BEN-JMA
                                                                                        ORDER
Case 3:16-cv-00463-BEN-JMA Document 77 Filed 01/18/18 PageID.1420 Page 2 of 2


             Good cause being shown to grant the parties’ Joint Motion for Extension of
   1

   2   Deadline to Submit Joint Motion for Determination of Discovery Dispute, the
   3
       Court hereby grants the motion. The deadline to file a joint motion for
   4
       determination of discovery dispute relating to Mr. Chandrasekar Raj’s errata sheet is
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   6   extended to January 23, 2018.
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       Dated: January 18, 2018
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                                               -1-                 3:16-cv-00463-BEN-JMA
                                                                         PROPOSED ORDER
